                                                                                                         Case 2:20-cv-00470-GMS Document 192 Filed 04/20/22 Page 1 of 4



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                                                                                                      Meta Platforms, Inc. (fka Facebook, Inc.),
                                                                                                   14 Instagram, LLC and WhatsApp LLC

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                                                                                                                                   UNITED STATES DISTRICT COURT
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                                                                                                                                           DISTRICT OF ARIZONA
                                                                                                   17
                                                                                                        Meta Platforms, Inc., et al,                Case No. CV-20-470-PHX-GMS
                                                                                                   18
                                                                                                                             Plaintiffs,            PLAINTIFFS’ UNOPPOSED MOTION
                                                                                                   19                                               TO TRANSFER DOMAIN NAMES TO
                                                                                                               v.                                   PLAINTIFFS
                                                                                                   20
                                                                                                        Namecheap, Inc., et al.,
                                                                                                   21
                                                                                                                             Defendants.
                                                                                                   22
                                                                                                        AND RELATED COUNTERCLAIMS.
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                                                                                                    1          Plaintiffs Meta Platforms, Inc. (fka Facebook, Inc.), Instagram, LLC, and
                                                                                                    2 WhatsApp LLC (“Plaintiffs”) seek an order from this Court to transfer to Plaintiffs certain

                                                                                                    3 domain names at issue in this action and identified in Exhibit 1 to this motion pursuant to

                                                                                                    4 15 U.S.C. § 1125(d), which grants the Court the power to transfer those domain names.

                                                                                                    5 See 15 U.S.C. § 1125(d)(1)(C) (“In any civil action involving the registration, trafficking,

                                                                                                    6 or use of a domain name under this paragraph, a court may order the forfeiture or

                                                                                                    7 cancellation of the domain name or the transfer of the domain name to the owner of the

                                                                                                    8 mark.”). Defendants Namecheap, Inc. and Whoisguard, Inc. (“Defendants”) have stated
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                                                                                                    9 that they do not oppose this motion, which is based on the following facts.
                                                                                                   10          1.     On January 15, 2021, Namecheap filed with this Court its Notice of Lodging
                                                                                                   11 of Registrar’s Certificate and concurrently lodged a Registrar’s Certificate purporting to

                                                                                                   12 place certain domain names “under the dominion and control of the Court until such time
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                                                                                                   13 as Namecheap receives further instruction with regard to the Domain Names.” ECF No. 71

                                                                                                   14 ¶ 5 & Ex. A; see also 15 U.S.C. § 1125(d)(2)(D)(i)(I) (stating that, upon receipt of file-

                                                                                                   15   stamped complaint, the domain name registrar shall “expeditiously deposit with the court
                                                                                                   16   documents sufficient to establish the court’s control and authority regarding the disposition
                                                                                                   17   of the registration and use of the domain name to the court”). The January 15, 2021
                                                                                                   18   Certificate of Lodging purported to place 1,150 domain names under the control and
                                                                                                   19   authority of this Court. See ECF No. 71-1.
                                                                                                   20          2.     On February 22, 2021, Namecheap filed its second Notice of Lodging of
                                                                                                   21 Registrar’s Certificate and lodged its second Registrar’s Certificate, which also purported

                                                                                                   22 to place additional domain names “under the dominion and control” of the Court. ECF

                                                                                                   23 No. 81 ¶ 5 & Ex. A. This second Registrar’s Certificate listed 356 domain names. ECF

                                                                                                   24 No. 81-1.

                                                                                                   25          3.     Subsequently and pursuant to this Court’s order (ECF No. 109 at 9),
                                                                                                   26 Namecheap filed on September 7, 2021 its Notice of Filing of Corrected Registrar’s

                                                                                                   27 Certificate. ECF No. 133. Namecheap listed 996 domain names in its Corrected Registrar’s

                                                                                                   28 Certificate. ECF No. 133-2.

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                                                                                                    1         4.      Shortly thereafter on September 21, 2021, Namecheap filed its Notice of
                                                                                                    2 Filing of Supplemental Registrar’s Certificate, which listed 245 additional domain names.

                                                                                                    3 ECF No. 135.

                                                                                                    4         5.      Each of the domain names to be transferred under the requested Order were
                                                                                                    5 lodged with the Court pursuant to the February 22, 2021 Corrected Registrar’s Certificate

                                                                                                    6 or the September 7, 2021 Supplemental Registrar’s Certificate, and are currently under the

                                                                                                    7 Court’s dominion and control.

                                                                                                    8         Now, pursuant to 15 U.S.C. § 1125(d)(1)(C), Plaintiffs seek an order from the Court
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                                                                                                    9 to transfer to Plaintiffs the domain names listed on Exhibit 1 to this motion and which were
                                                                                                   10 lodged with the Court pursuant to the February 22, 2021 Corrected Registrar’s Certificate

                                                                                                   11 and the September 7, 2021 Supplemental Registrar’s Certificate. In particular, Plaintiffs

                                                                                                   12 request that the Court issue an order (1) directing Namecheap to take all necessary steps to
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                                                                                                   13 transfer the domain names listed in Exhibit 1 to Plaintiffs, and (2) releasing from its control

                                                                                                   14 and     authority    all   domain    names       at   issue   in   the   case,   pursuant   to
                                                                                                   15 15 U.S.C. § 1125(d)(2)(D)(i)(I).

                                                                                                   16         Given the above facts and given that Defendants do not oppose this motion,
                                                                                                   17 Plaintiffs respectfully request that the Court grant this motion and enter the proposed order

                                                                                                   18 concurrently lodged with this motion.
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                                                                                                        DATED: April 20, 2022           SNELL & WILMER L.L.P.
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